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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,                                   Case No. 23-cr-20101
                                                   Hon. Matthew F. Leitman
v.

DAWONE COOK,

     Defendant.
__________________________________________________________________/

           ORDER DENYING MOTION TO SUPPRESS (ECF #19)

      On April 22, 2024, the Court completed the hearing on Defendant’s Motion

to Suppress (ECF #19). For the reasons explained on the record at the conclusion of

the hearing, the motion is DENIED.

      IT IS SO ORDERED.

                                      s/Matthew F. Leitman
                                      MATTHEW F. LEITMAN
                                      UNITED STATES DISTRICT JUDGE

Dated: April 22, 2024

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on April 22, 2024, by electronic means and/or ordinary
mail.

                                            s/Holly A. Ryan
                                            Case Manager
                                            (313) 234-5126
